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Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page1of21

EXHIBIT F

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar.

Plaintiff,

Vv.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants.

Case No. 3:24-cv-00103-ART-CLB

EXHIBIT F — Arrest Report, Incident Report, and Impound Record

Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P.

56)

Plaintiff Drew J. Ribar, pro se, submits Exhibit F, comprising the Declaration of Probable Cause,
Incident Report (CCSO Case No. 22-5359), and Cal-Neva Transport & Tow Inc.
Invoice/Impound Record. obtained via discovery in criminal Case No. 22 CR 01231 1C
(dismissed). This exhibit spans Bates numbers EX001-EX015. Exhibit F stands alone as
evidence of Defendants” actions on August 30, 2022, while cross-referencing Exhibits C, D, and

E: to support Plaintiff's claims and Rule 56 motion.

Key Evidence and Legal Violations

PLEADING TITLE - |

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 2 of 21
| Section Incident Legal Relevance Cross-Reference
2

Violates First Amendment
3
recording rights (Fordyce v. Seattle,
4
Deputy Bucno
5 55 F.3d 436 (9th Cir. 1995): Nieves Exhibit C:
alleges Plaintiff
6 v. Bartlett, 139 8. Ct. 1715 (2019)); 01:01:40.583
7 trespassed (NRS
Declaration Fourth Amendment unlawful arrest (public road):
8 207.200), obstructed
of Probable (Devenpeck v. Alford, 543 U.S. 146 01:05:13.333 (no
9 (NRS 197.190), and
10 Cause (2004)); NRS 207.200 requires signs): Exhibit D:
disturbed peace (NRS
1) |} (EX001- notice, which is absent: NRS 0:20:56 (late
203.010) by “filming
2 || EX002) 203.010 (loud/tumultuous conduct) Miranda, no
13 restricted areas,”
, is unsupported by demeanor: obstruction
i4 refusing orders, and
delayed Miranda warning violates — explanation)
1S causing a lockdown.
16 Fifth Amendment (Miranda v.
17 Arizona, 384 U.S. 436 (1966)).
I8 Supports First Amendment
° Charges based on retaliation (Glik v. Cunniffe, 655
20 Exhibit C:
| Incident filming: lacks F.3d 78 (Ist Cir. 2011); (rizarry v.
- 01:05:13.333:
97 || Report evidence of posted = Yehia, 38 F.4th 1282 (10th Cir.
Exhibit D:
23 |) (EX003— signs or warnings. 2022)); malicious prosecution
v4 0:05:13.333; Exhibit
- EX013) Refers to “refusal to (Thompson v. Clark. 142 8. Ct.
25 E: 0:01:20
stop filming.” 1332 (2022)): obstruction under
26
3 NRS 197.190 lacks legal order:
28
PLEADING TITLE - 2

Case 3:24-cv-00103-ART-CLB

Section Incident

Tow Invoice
Plaintiff's truck was

& Impound

towed without
Record

consent, notice,
(EX014—

inventory, or warrant.
EX015)

Document 43-8

Legal Relevance
supports municipal liability under
Monell for pattern of retaliation.
Violates Fourth Amendment seizure
(Soldal v. Cook County, 506 U.S. 56
(1992)): violates Fourteenth
Amendment due process (Mathews
v. Eldridge. 424 U.S. 319 (1976);
Parratt v. Taylor, 451 U.S. 527
(1981)); NRS 205.2715 (unlawful
taking); evidences retaliation and
tortious interference (Board of Cry.
Comm rs v. Umbehr, 518 U.S. 668

(1996)).

Filed 03/28/25

Page 3 of 21

Cross-Reference

Exhibit D:
0:06:32.625; Exhibit

L: 0:01 :04-0:01:20

Legal Claims Supported

D).

¢ First Amendment (42 U.S.C. § 1983): Retaliation for lawful recording (Fordyce, Glik.

Irizarry, Nieves, Umbehr), contradicted by lack of signage or lawful orders (Exhibits C &

¢ Fourth Amendment (42 U.S.C. § 1983): Arrest and vehicle seizure without probable

cause, warrant, or exigency (Devenpeck, Soldal, Thompson).

« Fifth Amendment (42 U.S.C. § 1983): Delayed Miranda warning (Exhibit D, 0:20:56).
PLEADING TITLE - 3

WN

fad

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 4 of 21

e Fourteenth Amendment (42 U.S.C, § 1983): Procedural due process violations
(Mathews, Parratt); economic harm from retaliatory tow and implied blacklisting (Meyer
v. Nebraska, 262 U.S. 390 (1923); County of Sacramento v. Lewis, 523 U.S. 833 (1998)).

¢ Municipal Liability: Sheriffs Office exhibited a custom or policy of retaliatory
enforcement (Monell v. Dep't of Soc. Servs., 436 U.S. 658 (1978)). as shown in Exhibits
C, D, and E.

e State Law Claims: False imprisonment (NRS 200.460). unlawful taking (NRS
205.2715). oppression under color of law (NRS 197.200), defamation, and interference

with business expectancy (28 U.S.C. § 1367).

Summary Judgment Purpose (Fed. R. Civ. P. 56)

Exhibit F contains Defendant's own sworn statements and administrative records, which are
flatly contradicted by video evidence in Exhibits C, D, and E. The absence of “No Trespassing”
signs (Exhibit C). no lawful order (Exhibit D), and retaliatory language surrounding the tow
(Exhibit E) create undisputed facts showing constitutional violations. These entitle Plaintiff to

judgment as a matter of law.

Qualified Immunity Defeat

Defendants’ actions violated clearly established rights per Pearson v. Callahan, 555 U.S. 223

(2009):

PLEADING TITLE - 4

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 5of 21

| ¢ Violations: First Amendment retaliation (Fordvee, Glik, Irizarry, Nieves, Umbehr):

; Fourth Amendment arrest and seizure (Devenpeck, Soldal, Thompson). procedural due
, process (Mathews, Purratt); Miranda (Miranda).

4

5 * Clearly Established: Rights were long established before 2022.

6 e Unreasonable Conduct: Arrest and tow lacked lawful basis and were carried out with
7 retaliatory motive—objectively unreasonable under Kingsley v. Hendrickson, 576 U.S.
8 389 (2015): Harlow v. Fitzgerald, 457 U.S. 800 (1982).

9

10

12 ||Supporting Evidence

14 || Plaintiffs submission of an affidavit confirming truck ownership. non-consent to the tow, and

13 |}economic harm to Plaintiff's business. A&A Towing, Inc.

Authentication

Per Fed. R. Evid. 901, 1, Drew J. Ribar, declare under penalty of perjury this arrest report,
29 || incident report, and impound record (Bates EX001—EX015) were obtained via discovery in Case

23 ||No. 22 CR 01231 IC and accurately reflect Defendants” actions on August 30. 2022.

as || Dated: March 27, 2025
26 ||/s/ Drew J. Ribar

Drew J. Ribar

PLEADING TITLE - 5

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 6 of 21

! |}3480 Pershing Ln, Washoe Valley, NV 89704
~ 1) Tel: (775) 223-7899

Email: Const2Audit@gmail.com

PLEADING TITLE - 6

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 7 of 21

Scanned to DA Group
CARSON CITY SHERIFF'S DEPARTMENT CASE & 2022-5359 ona BY;
ARREST REPORT ROPER TO Gour # DATEAIME
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iF NS v eco Cl PRE Tey HER: oS
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. CELL PHONE
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[2]Not Applicable [ hom at Scane LOCATION OF VEHICLE: IF AUTHORIZED BY R/O RELEASED TO: NAME, D.0.8 & PHONE # [yes
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ZINV [ICA
GMC 2014 OTHER WCE593
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pe” PENSE
NO exter —-BI30/22 raz 1352 roceron. 1721 SNYDER AVE Carson City, NV
hat M ROTPY? INAME Hamme phane ied grea
Pies ADDRESS iWork price Meg. phone
FeRest ZTARREST Lf
DATE B/30/22 IME 1416 -ncanow
The undersares hareby declares undar panaity of periury thet on or about the date atdye stated, in trie
City-County of Carson City, State of Nawada, the defence above namad, did valfudy, corn the lotiowing atensels), to wit
Poe yw LRRBCONG BALL COURT
OFFENSE nies UTERAL | ROG CODE ADMIN, ABGMNT. WARRANT NUMBER & DATE
207.200 |6
i Tresspassing TRSPS M $150
3166 |« $92 |
& Obstructing Public Officer BIS M
2312 | a $137 |
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Dep. Bueno. 2 § <<. 5443
Private Parion vaxing the Arrest Pesos Officer ~ 10 Number
LSS 8/02: LSO) bas
Sag 10 Bumber Gate Ties

FYOO)

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 8 of 21

Case Number: 2023-5359

DECLARATION OF PROBABLE CAUSE

DEPENDANT=S DLSEN DAN T&S
NAME NAME

ARRESTER NO. A-L Ribar, Drew Joseph ARRESTER WO. AS
DEP EMDAN DoS DEFENDANT «S
MAME: NAME

ARRESTER NO. A-2 ARRESTER NO. Ad

The andersigned declarant. a Peace Officer of the Ciry-County of Carson City, hear by declares under penalty af perjury, that the abave-named defendant
vor defendants) uss been actested on probable cause and is subject te detention for the offenses) stated on the ablached criminal complamu. Enher personally
or upow information and belief thes officer learned the following facts and circumstances which support the arrest and detemnon

On 8/30/2022 at 1353 hours, } responded to 172) Snyder Ave. Northern Nevada Correctional Center (NNCC) in reference to a suspicious
subject on prison property. Prison Officials advised Dispatch, a male subject was parked on prisan property, refusing to leave. We routinely
respond to prisons in Carson City for suspicious activity, especially vehicles, due to concerns of potential involvement in escape.

Upon arrival, | made contact with Sgt. Smith from Nevada Department of Corrections, he described responding to meet with a male subject,
later identified as Drew Ribar, who parked on the prison entrance road and began filming restricted areas. Set. Smith advised Drew the area
was restricted State property and he was not authorized to remain on the property or continue his activities. Sgt. Smith instructed Drew on
how to obtain authorization to film on the prison grounds, but the subject refused and began walking toward the main prison gates, while
filming the area, including fence lines and security measures as well as private vehicles of staff in the parking lot.

Due to the security risk posed to the property, staff and inmates, as Drew was uncooperative and ignoring lawful orders to leave and without
knowing his further intentions, Sgt. Smith mitiated a lock down of the entire facility and surrounding areas. This inchides moving hundreds of
inmates and staff to secure locations and verifying everyone is accounted for and the facility is secure.

As the Drew approached the main gates and fence line, 14. Aaron Ryer contacted him and told him multiple times to leave the property. Drew
refused all orders to leave and continued filming the sensitive security areas.

Warden Frazier Fernandeis, was alerted to the situation and contacted Drew ia front of the administrative building. Warden Fernandeis asked
Drew to identify himself, but Drew refused. Warden Fernandeis then repeated orders 10 leave the property immediately and to cease filming
security measures on the property. Drew refused and continued disrupting alJ operations in the facility and on the property.

WHEREFORE, Dectarant requests that a finding be made by a magistrate that probable cause exists to hold the said person for
preliminary hearing (if offense charged is a felony or gross misdemeanor} or for trial (if charge is a misdemeanor).

DECLARANT: Dep. Bueno Tien (2. 1 NO: 5443
PRIVATE PERSON PRIVATE
MAKING ARREST PERSONSS
(CITIZEN ARREST): ADDRESS:
ARRESTING OFFICER: Dep. J. Bueno #5443 pawsor REVIEWING

SATSUNMON SUPERVISOR
AND IDNO,
DAY SHIFT

REVIEWED FOR PROBABLE CAUSE (PC)
PC FOUND © PC NOT FOUND 2 DATE TIME, . MAGISTRATE

ORDER TO RELEASE DEFENDANT
FROM CUSTODY DATE. TIME . MAGISTRATE

SUA Kes 1 INES

ENOOZ

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 9 of 21

Case Number: 2622-5359

DECLARATION OF PROBABLE CAUSE

DEFENDANT ©S BEPENM DAN ToS
NAME NAME

ARRESTEE NO. A-1 Ribar, Drew foseph ARRESTEE NO. A}
DEFENDANTS DEFES DAN Ts
NAME NAME

AKRRESPRE NO. AA? ARRESTEE NO. A-4

rhe undersigned declaram, a Peace Officer af de Ciy-Connty of Canon City. hear by declares under penalty of pecjury. (hat the above-nained defendant

ior detondantst has been arrested on probable cause aad 6 subject 1 detention for the offenseds) stated on the attached eriminal complaimt. Ether periona ly

ay upen information and belief this officer leamed the following facts and circumstances which support the arrest and detention

i spoke with Warden Femandeis, who confirmed Drew was asked to identify himself, but he refused. Consirmed Drew was asked to leave
multiple times, but he re“used, causing severe disruption of all operations on the property. Confirmed he was filming security measures and
fence lines around the facility, posing a safety and security risk. Confirmed Drew was advised the proper way to access the property officially
to caridact bis busimess, but be refused.

Wardea Femandeis requested Drew be taken into custody. [ placed Drew in handcuffs, ensured proper fit and secured him in my patrol
vehicle. Drew wanted to debate and argue his position and rights. He was Mirandized, though he declined to answer questions, opting to
canting with his own. | declined to debate the situation with him further and transported him to the Jail where he was booked for Trespassing,
Obstructing and Public Officer and Disturbing the Peace of Public Grounds.

NFI

WHEREFORE, Declarant requests that @ finding be made by a magistrate that probable cause exists to hoid the said person for
prelimimary hearing (if offense charged is a felony or gross misdemeanor) or for trial (if charge is a misdemeanor).

DECLARANT: Dep. Bueno oO NOe 5443

PRIVATE PERSON PRIVATE
MAKING ARREST PERSONS
(CITIZEN ARREST). ADDRESS:

paysors REVIEWING

SATASUN MON SUPERVISOR
AND TO NO,

ARRESTING OFFICER: Dep, J. Bueno #5443

DAY SHIFT

REVIEWED FOR PROBABLE CAUSE (PC)
PCFOUND @ PCNOTFOUND > DATE... TIME _ , MAGISTRATE

ORDER TO RELEASE DEFENDANT
FROM CUSTODY DATE. TIME , MAGISTRATE

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EKbOS

Case 3:24-cv-00103-ART-CLB

Incid

ent Report

Document 43-8

Filed 03/28/25 Page

22-5359

CARSON CITY SHERIFF'S OFFICE

sears OFFICE

Address

911 EAST MUSSER STREET

City. State, Zip Code

Phone Number

775-887-2500

Fax Number

775-887-2016

OCriiitiieice uit etal

CARSON CITY, NV 89701

Reported Date

08/30/2022

Rptiincident Typ

TRSP

Member

BUENO, JASON

10 of 21

Supplement No

ORIG

Agency Case No Supplement Na \ Reparled Date Reported Time
CARSON CITY SHERIFF'S OFFICE 22-5359 ORIG | 08/30/2022 13:53
CAD Call No Status RelVIncident Typ
222420188 Report /Trespassing
Location City
1721 SNYDER AV Carson City
ZIP Code Rep Dist , Area Beat — From Date 1 From Time To Date To Time Primary Unit
89701 100515 | 5 o5 08/30/2022 | 13:53 08/30/2022 14:49 | 5443
Members Assignment Entered By | Assignment RMS Transfer
, JB5554/BUENO, JASON Patrol | JB5554 | Patrol | Successful
Prop Trans Stat Property? Approving Officer Approval Date Approval Time
Successful | None | BM1634 08/30/2022 17:07:40
Bady Worn Camera Footage Probable Cause Statements Vehicle IMP/Inventary Record
Yes | Yes Yes Yes
€ CHtenses Piense — ee a Description — | Complaint Type
1 | 33166 NRS 207.200 M TRESPASS, NOT AMOUNT
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1 90gcCc 88 11 53166 N 1 907
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3 53133 NRS 203.119 M DISTURB PEACE IN PUB |
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Attempted/Completed Used ; Bias Lacatioan Type 4# Premises | Method of Entry | Criminal Activity | Weapon/Force
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ARR /1 Ir RIBAR, DREW J 282907
Race Sex DOB
W M 05/09/1968
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vic 1 G STATE OF NEVADA 298025
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WIT /1 I FERNANDEIS, FRAZIER | 324297
Race Sex DOB
B iM 03/05/1964

| Report Officer

JB5554

/BUENO, JASON

Page 1

of 5

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EXO

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 11 of 21
Incident Report CARSON CITY 22-5359 ORIG.
WIT 2 | I RYER, AARON ee / _ | 324298
Race Sex DOB
WwW M 01/26/1977
Inv Invi Ne : Type Name MINI
WIT /3 I SMITH, ROBERT / 155766
Race Sex DOB

08/31/1985

Lic Year
IMP |2 2023
“Report Officer ~ ‘Printed At 7
| 555554 /BUENO, JASON 09/20/2022 13:43
| _ . 0,
| Page 2 of 5 _

er
EX0C9

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 12 of 21

Incident Report CARSON CITY 22-5359 ORIG
SHERIFF'S OFFICE

Ow rcrit wins:

Involvement © InviNo Type
Arrestee 1 Individual
Name — " " , ae , | “MNT " Race Sex
RIBAR, DREW J 282907 White Male
DOB | Age Ethnicity “Y Javenile? | Height Weight Hair Color Eye Color OFN_INVL
05/09/1968 | 54 | Not of Hispanic origin No | 6'02"  145#/ Brown | Green | 1
PRN NIBRS
491532 53 R N
Vic/Ofnd Age | Residence Domestic Vialence?
53 Resident No
Type Acdress
Home | 3480 PERSHING LN
City State ~ 1 ZIP Code " | Date
WASHOE VALLEY Nevada | 89704 | 08/30/2022
Type 11D No OLS |

Operator License Nevada
Type ID No
Social Security Number

Arrest Date

08/30/2022

Involvement Arrost Type Arrest Time Booking No Baok Date

Arrested | Arrested - On View 14:15:00 | 2202416 | 08/30/2022

Book Time Status Dispo

15:09:00 | Booked | Misdemeanor-ADULT ONLY

Arrest Location . City

1721 SNYDER AV /Carson City
Hep Dist Beat | NiBRS “es “_— .
100515 | O5 | NO1

Multi-Arrests Armed With

Not applicable Unarmed

NOC Counts | Level , Charge Literal

52312 NRS 197.190 M 1 M FALSE STATEMENT OBST

NIBRS Arrest Offense | Arrest NOC
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NOC Counts Level Charge Literal

53133 NRS 203.119 M 1 M DISTURB PEACE IN PUB

NiBRS Arrest Offense | Arrest NOC
90053133 90C 53133
Nac Counts Levei | Charge Literal

53166 NRS 207.200 M 1 M TRESPASS, NOT AMOUNT

» NIBRS Arrest Offense | Arrest NOC
| 90353166 907 53166
Involvement Type

Victim (Person) {1 | Government

Name MNI PRN

STATE OF NEVADA 298025 491533

Type OLS

Operator License Nevada

Type

Social Security Nu

Type

Victim Invi No | NIBRS

1 903/902
Related Offenses ~~
903/902
Report Officer : ° ~ ~ T Brinted A O97 2ZO/ 2022
| JB5554/BUENO, JASON . — oe 13:43 3

Page 3 of 5

EXOLE

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 13 of 21

Incident Report CARSON CITY 22-5359 ORIG

SHERIFF'S OFFICE
VET SAEF dit ii)

naitness 1° | tndividual FERNANDEIS, FRAZIER

| MAI ° " Race |'Not™ - Juvenile? Height Weight

| 324297 Black | Male 03/05/1964 Be Not’ of Hispanic origin No | 602" | 180#
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Bald Brown 491534

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Carson City | Nevada | 89701 08/30/2022
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Work 1721 SNYDER AV

, City State Zip Code Date

Carson City Nevada | 89701 08/30/2022

Phone Type

Phone No

Date
08/30/2022

| ee Ll els.

individual |

Name
| SMITH, ROBERT
|

Age Juvenile?
36

Height Weight Hair Color Eye Color
No | 6/02" | 235#

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155766 White | Male | 08/31/1985 Brown reen | 491536

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Type Acdress
Work | 1721 SNYDER AV

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Carson City Nevada | 89701 08/30/2022

Type, . TO No ]
Social Security Number

Phone Type [| Phane No Date
Wor 8/30/2022 |

WS SY fod Cen La ohh

avolvemen ic icense No tc Type 2a

Impounded | Truck/Van | WCE593 Nevada Truck 2022 ‘General Motors | Corp.
| Model™ . Style Color TIN Storage — eT
Denali | pickup Black 1GT426C87EF109625 Cal Neva Tow

Cal Neva Tow | Storage Yard | Not" damaged PALAMAR, SEAN

“Tow | From ” ~

1721 SNYDER AVE

TOW YARD

Person Notified

DREW RIBAR

Crime Code(s)

others

EV ge iiy

On 8/30/2022 at 1353 hours, | responded to 1721 Snyder Ave, Northern Nevada Correctional Center (NNCC) in
reference to a suspicious subject on prison property. Prison Officials advised Dispatch, a male subject was parked on
prison property, refusing to leave. We routinely respond to prisons in Carson City for suspicious activity, especially
vehicles, due to concerns of potential involvement in escape.

Report Officer —T Frinted A OFF ZOPZOWB mmm
JB5554/BUENO, JASON 113343 |

Page 4 of 5

EXQO7

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 14 of 21

Incident Report CARSON CITY 22-5359 ORIG
SHERIFF'S OFFICE

ETE La

Upon arrival, | made contact with Sgt. Smith from Nevada Department of Corrections, he described responding to meet
with a male subject, later identified as Drew Ribar, who parked on the prison entrance road and began filming
restricted areas. Sgt. Smith advised Drew the area was restricted State property and he was not authorized to remain
on the property or continue his activities. Sgt. Smith instructed Drew on how to obtain authorization to film on the
prison grounds, but the subject refused and began walking toward the main prison gates, while filming the area,
including fence lines and security measures as well as private vehicles of staff in the parking lot.

Due to the security risk posed to the property, staff and inmates, as Drew was uncooperative and ignoring lawful orders
to leave and without knawing his further intentions, Sgt. Smith initiated a lock down of the entire facility and
surrounding areas. This includes moving hundreds of inmates and staff to secure locations and verifying everyone is
accounted for and the facility is secure.

As the Drew approached the main gates and fence line, Lt. Aaron Ryer contacted him and told him multiple times to
leave the property. Drew refused all orders to leave and continued filming the sensitive security areas.

Warden Frazier Fernandeis, was alerted to the situation and contacted Drew in front of the administrative building.
Warden Fernandeis asked Drew to identify himself, but Drew refused. Warden Fernandeis then repeated orders to leave
the property immediately and to cease filming security measures on the property. Drew refused and continued
disrupting all operations in the facility and on the property.

1 spoke with Warden Fernandeis, who confirmed Drew was asked to identify himself, but he refused. Confirmed Drew
was asked to leave multiple times, but he refused, causing severe disruption of all operations on the property.
Confirmed he was filming security measures and fence lines around the facility, posing a safety and security risk.
Confirmed Drew was advised the proper way to access the property officially to conduct his business, but he
refused.

Warden Fernandeis requested Drew be taken into custody. | placed Drew in handcuffs, ensured proper fit and
secured him in my patrol! vehicle. Drew wanted to debate and argue his position and rights. He was Mirandized,
though he declined to answer questions, opting to continue with his own. | declined to debate the situation with him
further and transported him to the jail where he was booked for Trespassing, Obstructing and Public Officer and
Disturbing the Peace of Public Grounds.

Dep. Palamar assisted in obtaining statements from involved parties and towing Drew's vehicle from the property.

NFI
Report Officer Printed At 09/20/2022
JB5554/BUENO, JASON ee 13:43

Page 5 of 5

EX 608

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 15 of 21

Incident Report CARSON CITY 22-5359 0001
SHERIFF'S OFFICE sce-ss

Reported Date

cue 911 EAST MUSSER STREET 08/30/2022
on A City, State, Zip Code Rpt/Incident Typ
eyes ay stg Es CARSON CITY, NV 89701 O&R
HERIFF'S OFFIC { , Member#
a oe PALAMAR, SEAN

Phone Numner

775-887-2500

Fax Number

cmmsstns messsseeans ping ag BF 2016
me olitileite Lika Uieelaiiee titel |

Supplement No

Agency Case No Reported Date Reported Time

CARSON CITY SHERIFF'S OFFICE | 22-5359 0001 08/30/2022 16:08

CAD Call No Status Rat/Incident Typ

222420188 Report Obstructing & Resisting

Location City

1721 SNYDER AV Carson City
ZIP Code Rep Dist Area Beat From Date From Time To Date To Time Primary Unit
89701 100515 | 5 05 08/30/2022 13:53 | 08/30/2022 14:49 | 5443

Member Assignment Entered By Assignment RMS Transfer
$P1477/PALAMAR, SEAN | Patrol | SP1477 Patrol | Successful
Prop Trans Stat Approving Officer } Approval Date . oe | Approval “ime

Successful DG8179 09/01/2022 | 15:34:07

Ae Le A ee
Supplemental Report

eee
On 08-30-2022, at about 1359 hours, | was dispatched to 1721 Snyder Av (NNCC) for a subject who as
trespassing.

| arrived with Deputy Bueno and we spoke with a Department of Corrections Sergeant who said a male subject, Drew
Ribar, parked on the side of the road at the entrance to the prison and refused to leave after being instructed to do so
by prison staff. The sergeant said they had to put the prison and the work camp into lockdown due to the security
risk. He said Drew walked down to the parking lot and was walking around filming.

Deputy Bueno and | responded to the parking lot and found the Warden speaking with Drew. The Warden said he had
asked Drew to leave the property but he had refused. Deputy Bueno approached Drew and put him into handcuffs.
While he was being handcuffs | took control of the camera Drew was holding and handed it to one of the correctional
officers that was standing there. | walked with Deputy Bueno while he escorted Drew to Deputy Bueno's patrol car. The
correction officer handed Drew's camera equipment back to me. | turned off the equipment and put on the floor of
Deputy Bueno's patrol car.

| remained on scene and collected statements from prison staff. Deputy Bueno asked me to take care of the tow for
Drew's truck that was on the prison property.

| called for a tow and Cal Neva towing arrived. The tow driver told me Drew was at his tow yard about 20 minutes
before Drew arrived at the prison. Drew told him how he was going to go to the prison to do filming. The driver
cautioned Drew against entering the prison property.

| took pictures of Drew's truck and completed the tow form. Cal Neva towed the truck to their yard.

See Deputy Bueno's report for further.

Report Officer —_—_— rinted MOD Z LOZ LODZ
SP1477/PALAMAR,SEAN  __ . - 13243,

Page 1 of 1

EXO29

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 16 of 21

Incident Report CARSON CITY 22-5359 0002
SHERIFF'S OFFICE s:.s:

Reported Date

911 EAST MUSSER STREET 09/07/2022
City, State. Zip Code Rpt/Incident Typ
FIC CARSON CITY, NV 89701 TRSP
Member#
MARTINEZ, PATRICIA

Phone Number

775-887-2500

Fax Number

775-887-2016
D oliuliieiie-1ih em euislaiite died)

Agency i Case No Supplement No | Reported Date : Reported Time
' CARSON CITY SHERIFF'S OFFICE 22-5359 0002 09/07/2022 | 11:08

CAD Call Na Status Rpt/Incident Typ

222420188 Report [Trespassing

Location | City

1721 SNYDER AV Carson City

ZIP Code T Rep Dist i Area Beat From Date From Time To Date Ito Time | Primary Unit

89701 / 100515 | 5 05s 08/30/2022 13:53 | 08/30/2022 14:49 (5443

Member# I Assignment Entered By
PM1894/MARTINEZ, PATRICIA ' Support Specialist PM1894

Assignment RMS Transfer Prop Trans Stat Approving Olficer

Support Specialist Successful | Successful | PM1894

Approval Date Approval Time

09/07/2022 » 11:07:46

Wee hie

E-File attached.

‘Aeron OFicer ~ Pinca A O97 2OP ZOVA —
PM1894/MARTINEZ, PATRICIA 13:43

Page 1 of 1 _ - |

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Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 17 of 21

CARSON CITY SHERIFF'S OFFICE Sheritfs Office Use On
31+ East Musser St., Carson City NV, 89701 Witness No. Case
STATEMENT Wee.

Rec'd By: Dae

Person Making The Statement

Other Names Used:

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Crime Fighting Tips

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Describe What Happened

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Date: 3 /se/, 3 Time: (/¥¢#4 Signature: ase ee

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Rav'd 01/2049

EXO //

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 18 of 21

CARSON CITY SHERIFF'S OFFICE Sheriff's Office Use Only
911 East Musser St., Carson City NV, 89704 Witness No. Case #
STATEMENT We
Recd By: Date
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Crime Fighting Ti
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pate d-30-UU Tirne: 2 Pr Signature: Ld. (BAn p—

Rev'd 01/2079 EX O/ 2

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 19 of 21

CARSON CITY SHERIFF'S OFFICE Sheriffs Office Use Oniy
914 East Musser St, Carson City NV, 89701 Witness No. Case #
STATEMENT We
Rec'd By: Date
Person Making The Statement
Name Other Narnes Used:
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Crime Elghting Tips
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Date. 130/20. Time: \S: 45 Signature: . . \weatde.
Rev'd 01/2018 EXO/2

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 20 of 21
CAL-NEVMA TRANSPORT & TOW INC.
1863 Forrest Wag Carson Clay, NV 89706 «Tax ID 89-07 19408 » CPCNT187
calnevatransport(@msn.com (775) 841-4992. bux (775) 662-4995
13899
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STORAGE OM REBATE

Case 3:24-cv-00103-ART-CLB Document 43-8 Filed 03/28/25 Page 21 of 21

CARSON CITY SHERIFFS OFFICE - VEHICLE IMPOUND / INVENTORY RECORD
CASE NO._gA-S 354 pate: 9) 32-27 TIME: LYS" 77

VEHICLE INFORMATION

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Front Gh Rear Al

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Vehicle Operatar:

Registered Owner Name & Mailing Address: Tow Service Name & Address:

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Address: 3H Ad Por shiny. Len

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cay Washoe alligy state pAU zp Ba7ad
Ragistered Qwner Cantactad: Yes PR No ©) Yes, How & Date Contacted lf No. Towing Deouty to Notily By Mail (NRS)
Reason for Impoundment/Tow: Arred / _ Reporting Agency if Staler: Locate Sent Yes (] Nol}

IMPOUND INFORMATION

Vehicle Towed From: L7R | Saydew Ave (wwec )

Towed Te Corp Yard 7) Tow Yard KI Staton 0 Other

No Hold: aA Reason for Hold Evidence <) Safekeeping [Other (Expiniry
INVENTORY & CONDITIONS OF VEHICLE

interiorExtenor Photo's: Yes A No C] if No Explain:

SHICLE DRIVABLE: Yes g& No O) Unknown ©] KEYS: Yes {1 No DISPOSITION OF KEYS: __ Tas |
P

INVENTORY OF VEHICLE - Check If Present
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Transmission | 4 Radiator wi Radio Spare Tire Camper Top

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POSSESSION OF SAID VEHICLE TO ME, AND | ASSUME ALL RESPONSIBILITY AND BFCOME LIAGLE FOR ALL EXPENSES INCURRED AGAINST SAID VEHICLE
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EXO/s~

